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                          Attachment A

               Proposed Document
     Late Notice Regarding Expert Testimony
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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                         Case No: 1:20-CR-183
                     Plaintiff,
                                                         Honorable Robert J. Jonker
vs.

BRANDON CASERTA,

                     Defendant.


               LATE NOTICE REGARDING EXPERT TESTIMONY

       Defendant, BRANDON CASERTA, by his attorney Michael D. Hills, hereby
provides notice pursuant to Fed. R. Cim. P. 16(a)(1)(G) that he intends to call the following
witness.
           Eric Dorenbush, Instructor/Owner at Green Eye Tactical
       Counsel does not have a summary, however, Counsel expects Mr. Dorenbush to

testify regarding the training that was conducted by the alleged co-conspirators over the

course of the alleged conspiracy. There are several videos that captured said training.

It is expected that Mr. Dorenbush will give an opinion that the training and techniques

used in the training videos are not necessarily offensive in nature. Further, that these

are training techniques, or variations of training techniques, that are available for

purchase by professional trainers. Mr. Dorenbush can establish the approximate cost

for such training that CHS Dan and UCE Red were providing at no charge to this group.

       Mr. Dorenbush does not have a formal resume, however, Counsel attaches to this

motion Mr. Dorenbush’s military history and education that qualifies him as an expert.
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                                              Respectfully submitted,

Dated: February 14, 2022                      /s/ Michael D. Hills        /
                                              Attorney for Defendant

                                              BUSINESS ADDRESS:
                                              425 South Westnedge Ave
                                              Kalamazoo, MI 49007
                                              269-373-5430
                                              mhills@hillslawoffice.com
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                          Attachment A

            Mr. Dorenbush’s Qualifications
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                                    Eric Dorenbush
                         Owner/Instructor of Green Eye Tactical
                       214-663-8628 / eric@greeneyetactical.com

Experience

Owner/ Instructor
Green Eye Tactical
Oct 2012 - Present · 9 yrs 5 mos
McKinney, Texas

          o   Providing scalable training packages for individuals and agencies.
          o   Basic and Advanced Tactical Carbine
          o   Basic and Advanced Tactical Pistol
          o   Night Vision Device Training and Marksmanship
          o   Close Quarters Battle
          o   Explosive Entry
          o   Vertical Access and Entry
          o   Tactical Patrolling and Navigation
          o   Assault Procedures and Techniques
          o   Texas License to Carry Instructor
          o   NRA Pistol Instructor
          o   NRA Rifle Instructor
          o   NRA Home Firearm Safety Instructor
          o   NRA Range Safety Officer Instructor

Special Operations Instructor
Spectre Training and Evaluation, Al Ain UAE
Feb 2010 - Aug 2012 · 2 yrs 7 mos

          o   Special Operations Instructor for the UAE Special Operations School
          o   Plans, coordinates, and conducts training in all aspects of Infantry and
              Special Operations Forces (SOF) training
          o   Subject Matter Expert for weapons and marksmanship training
          o   Planned, Developed, and Implemented the Basic Rifle Marksmanship
              program for the UAE SOS
          o   Planned, Developed, and Implemented the Land Navigation Course for the
              UAE SOS
          o   Planned, Developed, and Implemented the Close Combat Marksmanship
              (rifle) Course for the UAE SOS
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          o   Primary Marksmanship Instructor for UAE Special Forces Task Force
              Afghanistan pre-deployment training
          o   Primary Navigation Instructor for UAE Special Forces Task Force
              Afghanistan pre-deployment training
          o   Planned and supervised numerous live fire training events.
          o   Developed training plan for UAE internal security emergency response force
          o   Developed and implemented basic combat rifle marksmanship course for
              UAE Special Forces
          o   Developed and implemented advanced combat marksmanship course for
              UAE Special Forces
          o   Planned and conducted UAE Special Forces Task Force- Afghanistan pre-
              deployment training
          o   Plans and instructs daily training events including: Small Unit Tactics, rifle
              and pistol marksmanship, land navigation, individual/team/squad fire and
              movement, combat battle drills, mission planning and preparation, anti-
              armor weapons

Training NCO
USASOC
Jan 2009 - Feb 2010 · 1 yr 2 mos Jan 2009 - Feb 2010 · 1 yr 2 mos
Fort Bragg, NC

          o   Operations Command and U.S. Army Special Forces Command
          o   Plans and coordinates logistical and administrative requirements for all
              training including airborne operations
          o   Instruct personnel in basic and advanced combat marksmanship, vertical
              wind tunnel training, and high angle rescue
          o   Maintains APFT, CTT, and range firing records, jump logs, and school
              development for over 580 soldiers
          o   Performs as instructor, test coordinator, and foreign airborne operations
              liaison

Team Member/ Operator
1st SFOD-D
Nov 2003 - Jan 2009 · 5 yrs 3
Fort Bragg, NC

          o   Member of a specifically selected, highly trained special operations team
              (SFOD-A equivalent)
          o   Conducted over 500 high-risk direct action combat missions to kill or
              capture High Value Targets
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         o   Acted as Squadron subject matter expert in biometric processing and
             identification during combat operations
         o   Fabricated and developed Military Freefall oxygen mask harness for ACH
             helmet, currently validated and in use
         o   Fabricated and developed overhead strap system currently used to secure
             ladders in 160th SOAR MH-60 Blackhawk helicopters
         o   Participates daily in high-risk operations and training; plans and conducts
             individual operations, direct action, special reconnaissance, and other
             sensitive missions
         o   Trains in marksmanship, close quarters combat (CQB), explosive entry
             techniques, jungle, desert, mountain, and urban operations; maintains
             readiness for recall and worldwide deployment
         o   Instructs Advanced marksmanship, close quarters combat, and various
             Special Operations techniques to U.S. and foreign personnel
         o   Responsible for equipment and sensitive items valued in excess of $750,000

82nd ABN DIV, US Army
5 yrs 9 mos
Fort Bragg, NC

Rifle Squad Leader
Jun 2002 - Nov 2003 · 1 yr 6 mos

         o   Participated in combat operations in Afghanistan
         o   Responsible for the execution of training, health, welfare and morale of a 9
             man Airborne Infantry Squad
         o   Responsible for training and maintaining the capable of deploying
             worldwide within 18 hours to conduct offensive operations to include:
             Airfield Seizure, Airborne Assault, Air Assault Raid, Ambush, and other
             military operations to achieve the goals, policies, and objectives of the
             National Command Authority and the United States
         o   Further responsible for all mission essential equipment valued in excess of
             $100,000
         o   Participated in combat operations in Afghanistan Responsible for the
             execution of training, health, welfare and morale of a 9 man Airborne
             Infantry Squad
         o   Responsible for training and maintaining the capable of deploying
             worldwide within 18 hours to conduct offensive operations to include:
             Airfield Seizure, Airborne Assault, Air Assault Raid, Ambush, and other
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              military operations to achieve the goals, policies, and objectives of the
              National Command Authority and the United States
          o   Further responsible for all mission essential equipment valued in excess of
              $100,000

       Section Leader
       Mar 1998 - Jun 2002 · 4 yrs 4 mos

          o   Participated in peacekeeping operations in KosovoI
          o   Selected by the 82nd Airborne Division to compete in the 2000 Best
              Ranger Competition
          o   Placed 2nd in 82nd Airborne Division Soldier of the Year competition
          o   Airborne Anti- Armor Section Leader, responsible for the training,
              discipline, health and welfare of 5 soldiers, their weapons and equipment
          o   Knowledgeable in both mounted and dismounted tactics of airborne and
              air assault operations
          o   Responsible for the equipment maintenance and accountability of three
              HMMWV’s (Humvees), two TOW 2 weapon systems, one M2 .50 Machine
              Gun, and one MK-19 grenade launcher and multiple pieces of electronic
              and communications equipment valued over $100,000

Infantry Mortar Gunner
US Army
Mar 1994 - Mar 1998 · 4 yrs 1 mo

          o   Mortar Gunner responsible for the employment of a 60mm Mortar
              weapon system
          o   Maintains and is responsible for the accountability of personal weapons
              and equipment valued over $60,000.

Education

American Military University
Intelligence Studies – 38 credit hours

Languages

Arabic - Professional working proficiency
English - Native proficiency
German - Limited working proficiency
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Skills
         o   Counterterrorism                     o   Pistol Marksmanship
         o   Military                             o   NRA Certified Instructor
         o   Firearms                             o   Surreptitious Entry
         o   Military Operations                  o   Vehicle Acquisition
         o   Reconnaissance                       o   Urban Climbing
         o   Army                                 o   Close Quarters Battle
         o   Command                              o   Military Freefall
         o   Homeland Security                    o   Advanced Combat
         o   CQB                                      Marksmanship
         o   Afghanistan                          o   Explosive Breaching
         o   Security
         o   Marksmanship
         o   Physical Security
         o   Force Protection
         o   Small Unit Tactics
         o   Security Operations
         o   Surveillance
         o   Executive Protection
         o   Counterinsurgency
         o   Explosives
         o   Counterintelligence
         o   Personal Protection
         o   Intelligence Analysis
         o   Personal Security
         o   Intelligence
         o   HUMINT
         o   Defense
         o   National Security
         o   Operational Planning
         o   Law Enforcement
             Operations
         o   Close Protection
         o   Pistol
         o   Enforcement
         o   Hostage Rescue
         o   Defensive Driving
         o   Problem Solving
         o   Security Clearance
         o   Rifle Marksmanship
